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                    UNITED STATES BANKRUPTCY COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)


In re:                                           CHAPTER 13

Shasia B. Willis,                                CASE NO. 20-13521-amc

                                    Debtor


                       NOTICE OF MOTION, RESPONSE DEADLINE
                                AND HEARING DATE

  Swift Financial, LLC as servicing agent for WebBank (“Swift”) has filed a Motion Authorizing
the Examination of Shasia B. Willis and Production of Documents Pursuant to Bankruptcy Rule
2004.

1.       Your rights may be affected. You should read these papers carefully and discuss them
         with your attorney, if you have one in this bankruptcy case. (If you do not have an
         attorney, you may wish to consult an attorney).

2.       If you do not want the court to grant the relief sought in the Motion or if you want the
         court to consider your views on the Motion, then on or before 11/20/20 you or your
         attorney must file a response to the Motion. (see Instructions on next page).]

3.       A hearing on the Motion is scheduled to be held on 12/02/20, at 11:00 a.m. in
         Courtroom #4, United States Bankruptcy Court, Robert C. Nix Sr. Federal
         Courthouse, 900 Market Street, Suite 204, Philadelphia, PA 19107. Unless the court
         orders otherwise, the hearing on this contested matter will be an evidentiary hearing.

4.       If you do not file a response to the Motion, the court may cancel the hearing and enter
         an order granting the relief requested in the Motion.
5.       You may contact the Bankruptcy Clerk's office for Philadelphia cases at (215)
         4082800 and for Reading cases at 610-208-5040 to find out whether the hearing
         has been canceled because no one filed a response.
6.       If a copy of the motion is not enclosed, a copy of the Motion will be provided to you if
         you request a copy from the attorney whose name and address is listed on the next page of
         this Notice.
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                                       Filing Instructions

 7.    If you are required to file documents electronically by Local Bankruptcy Rule
       5005-1, you must file your response electronically.

 8.    If you are not required to file electronically, you must file your response at

                             (     900 Market Street, Suite 400, Philadelphia, PA 19107 )

 9.    If you mail your response to the bankruptcy clerk’s office for filing, you must mail it
       early enough so that it will be received on or before the date stated in Paragraph 2 on the
       previous page of this Notice.

 10.   On the same day that you file or mail your Response to the Motion, you must mail or
       deliver a copy of the Response to the movant’s attorney:

                                     Sergio I. Scuteri, Esquire
                                     Capehart & Scatchard, P.A.
                                     8000 Midlantic Drive, Suite 300-S
                                     Mt. Laurel, NJ 08054
                                     Tel. (856) 234-6800
                                     Fax (856) 235-2786
                                     sscuteri@capehart.com

Dated: November 6, 2020




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